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                            81,7('67$7(6',675,&7&2857
                           1257+(51',675,&72)2./$+20$

                                    75$160,77$/6+((7
                                    1RWLFHRI$SSHOODWH$FWLRQ

'DWH1RWLFHILOHG

6W\OHRI&DVH86$Y6SULQJHUHWDO

$SSHOODQW/LQGVH\.HQW6SULQJHU

'LVWULFW&RXUW1RFU63)

7HQWK&LUFXLW&DVH1R

>@$PHQGHG12$                               >@&URVV$SSHDO

>@,QWHUORFXWRU\$SSHDO                      >@6XFFHVVLYH3HWLWLRQ RU  QRIHH

1RWLFHRIDSSHDOLVHQFORVHGWRDOOSDUWLHV H[FHSWWRDSSHOODQWLQFLYLOFDVHV 1RWLFHRI$SSHDO
GRFNHWHQWULHVDQGGLVWULFWFRXUWRUGHUDUHHQFORVHGWRWK&LUFXLW&RXUWRI$SSHDOV

'LVWULFW&RXUW-XGJH6WHSKHQ3)ULRW86'LVWULFW-XGJH

                    $33($/),/('%<3526(
                    $SSHDO)HH3DLG                                         >@
                    ,)3*UDQWHG                                             >@
                    0RWLRQIRU,)3RQ$SSHDO)RUP0DLOHG*LYHQ              >[@
                    0RWLRQIRU,)3RQ$SSHDO)LOHG                          >@
                    $33($/),/('%<&2816(/
                    $SSHDO)HH3DLG                                         >@
                    ,)3*UDQWHG                                             >@
                    0RWLRQIRU,)3RQ$SSHDO)RUP0DGH$YDLODEOH            >@
                    0RWLRQIRU,)3RQ$SSHDO)LOHG                          >@
                    &RXUW$SSRLQWHG&RXQVHO &-$)3'                        >@
                    86$                                                     >@


6LJQDWXUHRI6&ODUN'HSXW\&OHUN          2FWREHU               3KRQH  



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